CaSe 2215-CV-10434-RHC-|\/|.]H ECF NO. 26-3 filed 03/01/16 Page|D.SSO Page 1 Of 14

Exhibit B

" j;-CHS€ 2215-CV-10434-RHC-|\/|.]H

CR No: 140000559

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ECF NO. 26-3 filed 03/01/16 Page|D.SSl

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OLlVAREZ-VASQUEZ, ALONZO ANTON|O {S-SUSPECT) [FNCOLET (00080)]
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A&E I.awn Care and Snow PO BOX 2345 989_233_ Saglnaw. N|l 48605
P|owing ' 3335
vAzQuEz. RicHARD ANGELO (s-SusPEcT) [FNCOLET (00080}]
Lasl Nama F|rsl Name M!dd‘le Name Suf|”uc Mn‘Mrs¢‘Mr.
Vazquez Richard Angelo
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A&E Lawn Care & Snow Owner
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GREEN, ROBERT LEE (V-VICTIM} [FNCDLET [00080]]
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Victlrn Offender Relatlonships
offender T)rpa Rulal]cmshlp

_Olivarez-Vasquez, A|onzo Antnnio S»SUSPE_E_QT SB-Vic!im Was Stranger

Vazquez, Richard Angelo S-SUSPECT QB-Vlctlrn Was Stranger

 

 

 

DAWSON,ANGEE (O-C|THER)(X-M¥SCELLANEOUS) [FNCOLET(BUUBU}]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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THOMAS,BECKY (O-DTHER)(X~MlSC_}§LLANEDUS] [FNCDLET[UDDB{J)]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Warren Mr 43093 5365524904 b
Employar Ernp|oyer Address gwyngyar Ocl:upatlun Ernp'loyer CSZ
Five Brothers 12220 East 12 Mge RoJa_d Warren, M|
(o»oTHER) (B-BuslNEss, ETc.} [FNcoLET (oooso)]
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FlvE BROTHERS

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1604'- Videu GameNiden Game Accessories 5407 [FNCOLET (00080)]

 

Propsrly Class
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07 - Con'iputer Hardware!Softw_a_r§

UC.R Type
F ~ TV's, R§dtos, Stereos, Etc...

 

 

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[V20009306] GF!EENl ROEERT LEE

 

 

1604 - Vldeo GameNlcleo Game Accessorles 540? [FNCOLET (00030)]

 

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07

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07 - Cogiputar Hardware!Soffware

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F - TV`s, Radios, Stereos. Etc...

 

 

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1604 - Vidr-.-o GameNlcleo Game Acc:essorles 540? [FNCOLET (00080)]

 

 

 

 

 

 

 

 

 

 

 

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WZDDOQSOB] GREEN. ROBERT LEE

 

 

1604 - Video Game!\rideu Game Acc:essories 5407
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[vznnusaoei G_R_§_EN, ROB§_RT LEE

 

 

1604 - Video GameNfdeo Game A¢:cessories 5407 [FNCOLET (00000)]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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lV20009306] GREEN, ROBERT LEE

 

 

 

6300 - Portable E|ectrnnic Communicatlons {celi phonas, camera phones, pagers, PDAS, BlackBerrys, aic}

 

Praparty Glas$
75

lBR Type

 

75 - Purtable Eleclron|c Equ_!pment

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lV200093051 GREEN, ROBERT LEE

 

 

 

 

6300 - Portable E|ectronir.: Communlcations (cell phones, camera phori`es, pagers, PDAs,'BlackBérrys, etc} "

 

 

 

 

 

 

 

 

 

 

 

 

 

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Recovered Da|e!`l`|me Lol:al|un Owner

[V20009306] GREEN1 ROBERT LEE

 

 

 

 

990|] ,.,Guitar - Acoustlc 54?’2 [FNCOLE`[` (00080}]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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GIBSON VINTAGE STOLEN
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N20{]09306] GREEN. ROBERT LEE

 

 

 

 

egan . Guitar - Acnusiic 5472 [FNc:oLET manson

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Rac:nvarad Dalai"[lme ana|.|nn Owner

i\_;gpuossos} GREE_& RoBERT LEE

 

 

 

 

9900 - sutter - Acoustic 5472 [FNcoLET {oonsu)]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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[\)'20009308] GREEN. ROBERT LEE

 

 

 

 

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' ' ca Ne: nominees

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9996 - Other Musical Instrument 5472 [FNCC|LET (00080)]

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[V20009306] GREEN, ROBERT LE_E__

 

 

 

 

Narratlve:

 

CR No: 140000859-001 Written By: FNCOLET (00080} Date: 01!29!2014 07:25 P|l."l

 

CO|VIPLAINT NUN|BER
2014-0859

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B&E

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BETWEEN 01!13;'14 AND 01:'29!14 @1500HRS

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ROBERT GREEN elm _

susPEcT
RchARD ANGELO vASQuEz wm ”
Al.oi~lzo ol_lvAREz U/lvl _

DIVERSE PROPERTY CONTACT
Angee Dawsorl - Owner

FNE BROTHERS CONTACT
Becky Thomas - Default management investigator

lTEN|S STOLEN
3 - Xbox 360 game conso|es - $1350
1 - Sega Gel'lesis Cclnso[e - $250

 

 

 

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1 - Sega Saturn Console ~ $399

1 - CD| Game,Consoie -$400

1 - Atari Jaguar Conso|e - $499

1 ~ 3 DO Garne Consoie - $499

1 - SuperGun Nias Garne Consoie ~ $500

1- Neo Geo - $100

1 - Co|eco Vision - $‘?

1 - Yamaha Keyboard - $3300

1 - Ro|and workshop Station Sequencer - $2500

 

Total = $9797.00

NARRATiVE

Otdcer Coie was dispatched to 608 East Eiien Street in reference to a B&E report Oificer Coie
made contact with the victim Robert Green who stated he has recently spent some time in the
hospital do to some medical issues and when he returned horne their was a lock box on his front
door. The victim stated he is in the process of restructuring his ioan and when he contacted the
bank they accidently sent a company called Five Brothers to his house to close it up for the
winter. i-'ive Brothers confirmed the error and gave him the code to open the lock box to get into
his residence Upon gaining entry into his house he discovered that his house had been
ransacked and'all of his belongings had been gone through and several items had been stolen
Green eventually provided Oi‘i'"rcer Coie With a list of the items stolen. Grean stated he could not
be sure exactly where every item was. He stated that the stolen items were in the living

room, master bedroom, and garage.

Otdcer Coie contacted Bec|<y Thomas of Five Brothers and she stated that US Bank iviinnesota
contracted them to secure and winterize 608 E||en Street. Thornas stated that Five Brothers then
contracted Diverse Properties to complete the securing and winterizing. Ofl'"lcer Coie

contacted Divers property who stated they contracted A&E i_awn Care to complete the work
order. A&E Lawn Care is owned and run by Richard Ange|o Vazquez. who supplied a written
statement about the allegations of stoien items. Ofiioer Coie also spoke with Vasquez on the
phone and he stated that neither himself nor A!onzo took any items out of the residence Otiioer
Coie received a phone number for Aionzo OIivarez from Vazquez, but the number was
disconnected and ivir. Vazquez did not have any other numbers for him.

02!13!14 Otiicer Coie attempted to contact Becky Thomas from Five Brothers who is

 

 

 

 

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CR No: 140000859

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investigating the allegations and left a message thcer Coie had spoke with her and
Angee Dawson on a previous occasion about the incident

 

As 0102/17114 Officer Coie has not received any phone messages or small messages
from 5 Brothers investigator Becky Thomas.

As of 02/20!'|4 Ofiicer Coie still has not received any information back from 5 brothers Officer
Coie contacted the possible suspect Vasquez, who has aiready provided a written statement
Vasquez will be emailing the pictures of the residence as taken per standard operating procedure
for these types of contracts

On 02/20!14 Offlcer Coie contacted victim Green via telephone and he stated that no one from 5
Brothers has contacted him. l-le stated that last time he spoke with them was the day of the
incident

As of02124/14 Officer Coie has not received any information from 5 brothers on their haif of the
investigation Ofiicer Coie has attempted to call their investigator Becky T'homas several times
with no call backs.

On 03!03!14 Bec|<y Thomas responded back to Officer Coie via emaii and stated that she was
transferring the complaint to corporate after receiving Greens list of items and replacement cost
of $91,937. Officer Coie is placing this list of items Becky Thomas received in the case folder.

STATENIENT OF DAWSON

Dawson is the owner of Diverse Property and contracted Vasquez to winterize and change the
locks at the before mentioned address Dawson was asked by Oflicer Coie if she ever had any
similar complaints or issues with Vasquez and she said never. She stated that he had been
working for her for a couple years and has never had an issue with Vazquez:. Dawson stated she
would email the written statementVasquez gave her reference the accusations that

arose. Ofdcer Coie asked Daw.son how her company got involved and she stated that Five
Brothers contracted her company to complete the work.

WRITTEN STATENIENT OF SUSPECT
Officer Coie received a written statement from Diverse Properties that the suspect Angeio
Vasquez wrote about the allegations of him stealing property from 608 East E||en Street.

 

 

 

 

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The letter read: My name is Angelo vasquezl l am the owner ofA&E i_awn Care. i received work
order #40812 on January 14th, 2014 to be performed at 608 Eilen Dr. in Fenton, lviichigan.. An
employee of mine, A|onzo Otivarez and l arrived at the home at 1:33pm. Upon arrival we noticed
that the driveway had been plowed, therefore we suspect the home may be occupied. We
proceeded to approach the property to verify occupancy We did not get an answer at the door
and we were unable to look inside the home through the windowsl At this time we inspected the
exterior of the property and we were still unable to verify occupancy. | proceeded to break the
lock on the front door because it was the only door we could gain access through. Once we
entered the home we determine that there was a possibility that the horne was indeed occupied.
At this time Ai called the ofhce and spoke with Tom to make sure we had the correct address and
to verify if the home was supposed to be occupied or not. Tom checked the address and
described the home to confirm we were at the correct address Address was correct and the
home matched the description l informed Tom that the home had persona|s and appeared
occupied He then instructed me to proceed with the work order.

 

A|onzo and l entered the home and proceeded to complete a lock change, installed a lock box,
completed a winterization and took photos ofthe entire interior and exterior of the home. We
were the only ones inside the home and we did not remove any personals. We took photos of all
personals that were in plain view, however we did open some kitchen cabinets to confirm signs
of occupancy and to place the old lock in the kitchen drawer as instructedl

t was mainly taking the photos as Alonzo completed most of the tasks at hand. l was the one
that broke the lock off to gain access to the property l then prepared the new locks that were to
be installed and placed old locks in the kitchen drawer. l continued to photograph all the rooms
in the home while Alonzo changed the locks. l assisted Aionzo with the winterization and
continued to complete inspecting the home.

| was told that we damaged some towels and carpets with blue dye from the toilet. | do not
remember placing any toweis to clean up the blue water from the toilet. Whiie draining the toilet
with the blue dye my suction gun was leaking so l pointed it towards a small trash can next to the
toilet and that is how the trash got blue water stains, there was not a towel in the trash can. That
is also how the floor and the wall were stained and l will admit that we may have forgotten to
clean it up.

l was also told that water spilled in the basement caused by removing the water meter. The
water meter must remain on while pressure testing. After Winterization is complete. the water
meter is removed and a sm all amount of water might rush out due to the pressure of the

 

 

 

 

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winterlzation. As shown in our photos, that is exactly what happened when Alonzo removed the
water meter but it is clear in the photos that is was a small amount that sp|ashed on the wall and
floor. The water was turned off and the meter was removed there is absolutely no way anymore
water spilled into the basement

 

 

i_ast|y, we were told that some personals were missing from the home. l have been in business
for 14 years. l work for 2 other property preservation companies and | can assure you that l know
the risks of removing persona|s without a work order. This home appeared occupiedl that is why
we did not make any attempt to even disturb anything in the home while photographing it,
besides what needed to be touched l don't know if this is a tactic by the homeowner to make an
unlawful claim or because he is upset that we entered the home.

l assure you that neither one of us took anything from that horne. We take full responsibility for
the spilled water from the water meter and the blue dye on the bathroom carpet and wall but we
did not touch nor remove any persona|s,frorn the home. i am also attaching a time iine,
indicating the timely manner in which the work order was completed

Please TOT detectives

 

CR No: 140000859-002 ertten By: FNRAUCHD 100063) Date: 03114!2014 12:39 FNI

 

lnforma_tion:

On lviarch 24. 2014 l Det. Rauch spoke to lvlr. Robert Greene and his son Desmond Greene at
the City of Fenton Police Department in regards to this incident ivlr. Robert Greene and son
Desmond were asked to supply any sort of identifying documentation for the items they had
reported as stolen. l requested items such as receipis; manuals and serial numbers in order to
have said items entered into LE|N as stolen. l informed both individuals that some sort of the
aforrneniton identifying mechanisms was needed in order to properly identify the item for
recovery purposes Both individuals stated that they did not have supporting documentation at
this time.

iylr. Robert Greene stated that he had left his residence the day before A&l:'. Lawn Care came
into his horne to winterize it. Greene said that all of the items on his list were in his home upon
his last time at said residence Mr. Desmond Greene stated that he had spoke to Five Brothers
on the day of A&E Lawncare showing up and an l.lnidentitied Wlivi had told him to place a chair
near the front door because that showed occupa`ncy. and a winterizing crew would not go in the
house if a house was occupied. l asked lvlr. Desmond Greene to get me the name of that person

 

 

 

 

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for purposes of verifying his statement in regards to him being at the house. with all his
belongings in lt, just prior to a work crew showing up and gaining entry.

 

 

Upon continuing our conversation both persons were very angry at Five Brothers for allowing a
work crew to come into their house after they were told that one would not be. l asked lvir.
Robert Greene about the initial discrepancy of the original amount reported as stolen to Officer
Coie and the later reported to Five Brothers totally '$91,934. lvir. Robert Greene stated that most
of the items were not discovered missing until a through inventory of taken of his residence after
Oflicer Coie |eft.

Mr. Desmond Green stated that he believes the work crew from A&E Lawncare took the pictures
that they did after they took all of the items from his residence l told lvlr. Greene that he pictures
forwarded to this Det. Rauch by Mr. Vasquez were time stamped and very detailed l also told
Mr. Greene that l only saw (1) guitar in the pictures taken by Vasquez and rio Xbox Gaming
systems. Mr. Desmond Greene said that when he came horne to make his report to thcer Coie
his horne had been ransacked.

|NSU RANCE |NFORN|AT|ON:

On March 28, 2014 l Det. Rauch received a phonecall from Liberty lvlutual insurance investigator
Derek W. lvlaki. lvir. Maki stated that lvlr. Robert Greene had called recently to report a theft at
his residence and stated that after speaking with me that he decided to cali his insurance
company to report said incident llv‘|r, lvlaki gave this Det. Rauch his contact info and Complaint
Number: 028950455.

AF|S lnformation:

On Aprii 5, 2014 ivlr. Desmond Greene dropped off a plastic bag containing several empty P|astic
Gaming Boxes he stated were strewn about when his house was ransacked. On Apri| B, 2014 l
Det. Rauch took said items to the AFIS Laboratory to have said items tested for latent prints On
April 9, 2014 the results of said examination were taxed to this Detective with Ni| Results.

On 4l24f14 said items were picked up from the AFlS lab and returned to the City of Fenton
Police Department. A phone message Was left for N|r. Desmond Greene to pick up said items
Said items were then placed into an evidence locker for submittal into the Evidence Fioom.

 

 

 

 

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Case Disposition:

After speaking to all parties involved and with no property documentation supplied by the
Greenes | Det. Rauch wiii C|ose this case due to lack of the necessary information needed to
track down the reported stoien items. Aiso, according to Five Brothers ivir. Vasquez has been in
use by their company for approximately 10 years and has never had a complaint hled against
himl or his company At this time there are no further suspects

investigative Notes:

311 0114: Assigned Case & iv|essage Leit for Victim to contact DB. 3!11{14: FciioW-up wi
insurance f Bani< Rep Company 3!13/14: iv|eeting setup wicomplainant for 3!1? Cance||ed by ivir.
Green.

3!14!14: Pictures from Contractor received 3121!14: i\ilr. Green tx'd and wished to speak to me
on 3124!14 03!24{14: interview Victim & Son at PD 03!28!14: Contact Victim insurance Co for
info

 

 

 

 

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